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                   10th CIR. FORM 4. DISCLOSURE STATEMENT

                         UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT

         Fed. R. Civ. P. 26.1 and Tenth Circuit Rule 26.1 Disclosure Statement

    ALEJANDRO MENOCAL,
    MARCOS BRAMBILA,
    GRISEL XAHUENTITLA,                                     Case No. 22-1409
    HUGO HERNANDEZ,
    LOURDES ARGUETA,
    JESUS GAYTAN,
    OLGA ALEXAKLINA,
    DAGOBERTO VIZGUERRA, and
    DEMETRIO VALERGA,
    on their own behalf and on behalf of all
    others similarly situated

    v.

    THE GEO GROUP, INC.


Pursuant to Federal Rule of Appellate Procedure 26.1(a), (b), and/or (c), the undersigned, on
behalf of The GEO Group, Inc.
                      [Party Name(s)]
         1
certifies as follows:

               The following parent corporation(s); publicly held corporation(s); organizational
                victim(s); and/or debtor(s) are disclosed as required by Fed. R. App. P. 26.1
                (attach additional pages if necessary):

                 BlackRock Fund Advisors is a publicly held corporation that owns 10% or more
                 of The GEO Group, Inc.’s stock. No other publicly held corporation owns 10%
                 or more of The GEO Group, Inc.’s stock.




1
 Pursuant to Federal Rule of Appellate Procedure 26.1(d)(3), this disclosure statement must be
promptly updated whenever any of the information required under Fed. R. App. P. 26.1 changes.
                                                  1
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                 There is no information to disclose pursuant to Fed. R. App. P. 26.1.



December 13, 2022
Date

/s/ Dominic E. Draye
Signature




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                         CERTIFICATE OF SERVICE

      I, Dominic E. Draye, hereby certify that on December 13, 2022, I served a

copy of the foregoing Disclosure Statement upon all counsel of record via CM/ECF

e-service and email, as follows:

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                              Attorneys for Appellees

      I further state that on this same date, I sent a copy of the foregoing Disclosure

Statement via U.S. Mail to the following:

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                           901 19th Street, Suite 105A
                               Denver, CO 80294


December 13, 2022                      /s/ Dominic E. Draye
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